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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 16-CV-21874-KMM


  CUTHBERT HAREWOOD,

                   Plaintiff,
  v.

  MIAMI-DADE COUNTY, a political
  subdivision of the State of Florida and
  JOHN ALEXANDER, a resident of
  the State of Florida,

              Defendants.
  ______________________________/


          MOTION TO STRIKE PORTIONS OF MIAMI-DADE COUNTY’S REPLY TO
             PLAINTIFF’S RESPONSE TO MOTION TO DISMISS COMPLAINT

            Plaintiff, Cuthbert Harewood (“Mr. Harewood”), pursuant to Fed. R. Civ. P. 12(f), moves

  to strike certain portions of Miami-Dade County’s (hereafter the “County”) Reply in Support of Its

  Motion To Dismiss Complaint 1 (hereafter “Reply”), filed on July 21, 2016. In support thereof, Mr.

  Harewood states the following:

                                            INTRODUCTION

            Mr. Harewood filed a seven count Complaint against Miami-Dade County and one of its

  police officers John Alexander (“Officer Alexander”) and alleged several violations of 42 U.S.C.

  § 1983 and state law. Count II of the Complaint specifically alleged that Miami-Dade County

  violated Mr. Harewood’s constitutional right against excessive force by enacting an

  unconstitutional taser policy. Mr. Harewood properly alleged that the County’s taser policy was



  1
      See [D.E. 25].
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  officially promulgated by the County Manager and Board of County Commissioners by approving

  Agenda Item 12(B)7.

            The County filed a motion to dismiss Count II, claiming that “the [Complaint] contains

  no allegations regarding a specific ‘officially promulgated’ County policy that led to the

  alleged violations.” 2 Mr. Harewood filed a Response 3 vociferously objecting to the County’s

  contention and stated the following:

            [T]he County is flat-out wrong. The highlighted portions of Exhibit “A” clearly
            show that on September 8, 2005, the Board of County Commissioners passed
            Agenda Item 12(B)7, which is entitled, “Miami-Dade Police Department Taser
            Policy.” The Legislative History also shows that the agenda passed, and that the
            Board of County Commissioners was the legislative body that passed it.
            Furthermore, Exhibit “A” also references Agenda Item No. 11(A)(12), which is a
            separate resolution passed by the Commission that ordered the County Manager to
            direct the Director of MDPD to develop the County’s taser policy. See Agenda
            Item No. 11(A)(12) attached as Exhibit “B.” This fact alone undoubtedly proves
            that, regardless of who drafted it, the County’s taser policy stated in Agenda Item
            12(B)7 was approved and promulgated by its policymakers.
  [D.E. 20 at 5].
            In its Reply, the County “crawfished” on its contention that the policy cited in the

  Complaint was not “officially promulgated” and now claims that “the policy referenced in the

  attachments to Agenda Item No. 12(B)7 … is an outdated policy.” 4 The County attached “Exhibit

  1” to its Reply 5 as evidence of “the procedures that were in place in 2013.” Mr. Harewood seeks

  to strike this portion of the County’s Reply and “Exhibit 1.”



  2
      See [D.E. 11 at 6].

  3
      See [D.E. 20].
  4
      See [D.E. 25 at 4].

  5
      See [D.E.25-1].
                                                    2
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                                   MEMORANDUM OF LAW

                                     I.     Standard of Review

         “The court may order stricken from any pleading any insufficient defense or any

  redundant, immaterial, impertinent, or scandalous matter.” Fed. R.           Civ. P. 12(f). An

  affirmative defense is insufficient as a matter of law “if, on the face of the pleadings, it is

  patently frivolous, or if it is clearly invalid as a matter of law.” Vallesillo v. Remaca Truck

  Repairs, Inc., No. 09-80714-CIV, 2009 WL 4807397, at *4 (S.D. Fla. Dec. 4, 2009) (quoting

  Anchor Hocking Corp. v. Jacksonville Elec. Auth., 419 F.Supp. 992, 1000 (M.D. Fla. 1976)).

                                          II.    Argument

  The County Improperly Cites to a Document Outside of the Complaint.

         It is improper for Courts to consider extraneous documents when considering a motion to

  dismiss a complaint, except in limited circumstances. See Bell Atlantic v. Twombly 550 U.S. 544

  (2007); Bryant v. Avado Brands, Inc., 187 F.3d 1271 (11th Cir. 1999). Here, the County attached

  “Exhibit 1” to its Reply under the guise that “Exhibit 1” is a public record. However, not only is

  “Exhibit 1” untitled, it also fails to reference which governmental agency created this “public

  record,” if any, and who it applies to. Reliance on such a document is clearly inappropriate and

  outside the scope of the Complaint. For this reason alone, the document should be stricken. See

  Bryant v. Avado Brands, Inc., 187 F.3d 1271 (11th Cir. 1999).

  The County Presents No Evidence that “Exhibit 1” is an “Officially Promulgated” Policy.

         Assuming arguendo that Exhibit 1 is some sort of internal memorandum or policy within

  the Miami-Dade Police Department, the County presented no evidence that this

  memorandum/policy was officially promulgated by its policymakers, i.e. the Board of County

  Commissioners or the County Manager. The County’s contention that “Exhibit 1” is an officially
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  promulgated policy is quite shocking because, for decades, the County has successfully argued

  (including in cases before this Court) that internal police department policies are not “officially

  promulgated” by policymakers.

            A prime example is Wilson v. Miami-Dade County, 2005 WL 3597737, No. 04-cv-23250-

  KMM, (S.D. Fla. 2005). In Wilson, this Court originally denied Miami-Dade County’s motion to

  dismiss a § 1983 claim because the Plaintiff properly alleged that MDPD Director, Carlos Alvarez,

  was the department’s official policy maker. On a motion for reconsideration, the County argued

  that “Carlos Alvarez, as Director of the Police Department, is not a final policy maker for Miami-

  Dade County,” and that “this Court has on multiple occasions recognized that the final

  policymaking authority for Miami-Dade County rests solely with the Board of County

  Commissioners or the County Manager.” 6 This Court agreed with the County, reversed it prior

  Order, and held that:

            The County can only be liable under § 1983 for constitutional deprivations
            undertaken by persons with final policymaking authority. See Scala v. City of
            Winter Park, 116 F.3d 1396, 1399 (11th Cir.1997). Section 1983 “recovery from
            a municipality is limited to acts that are, properly speaking, acts of the
            municipality-that is, acts which the municipality has officially sanctioned or
            ordered .” Pembaur v. City of Cincinnati, 475 U.S. 469, 478, 106 S.Ct. 1292, 89
            L.Ed.2d 452 (1986). Determining whether an official possesses final
            policymaking authority is a question of law for the judge to decide. See Jett v.
            Dallas Independent School Dist., 491 U.S. 701, 737, 109 S.Ct. 2702, 105 L.Ed.2d
            598 (1989). In making this determination, “a federal court would not be justified
            in assuming that municipal policymaking authority lies somewhere other than
            where the applicable law purports to put it.” City of St. Louis v. Praprotnik, 485

  6
      Id. (citing Buzzi v. Gomez, 62 F.Supp.2d 1344, 1359-1360 (S.D. Fla.1999) (finding that Carlos

  Alvarez, as head of the Police Department, was not the final policymaker for the County);

  Lawrence v. Metro Dade County, 872 F.Supp. 957, 964 (S.D. Fla.1994) (noting that the County

  Manager oversees the Police Department).

                                                    4
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         U.S. 112, 126, 108 S.Ct. 915, 99 L.Ed.2d 107 (1988). This Court has previously
         recognized that final policymaking authority for Miami-Dade County rests with
         the Board of County Commissioners or the County Manager.
         There are a plethora of other cases which hold the same. See Buzzi v. Gomez, 62

  F.Supp.2d 1344, 1359-1360 (S.D. Fla.1999) (finding that Carlos Alvarez, as head of the Police

  Department, was not the final policymaker for the County); Lawrence v. Metro Dade County,

  872 F.Supp. 957, 964 (S.D. Fla.1994) (noting that the County Manager oversees the Police

  Department and the Director is not the final policymaker); Williams v. Santana, No. 06-22565-

  CIV, (S.D. Fla. July 18, 2008)(“Courts in this district have determined that the Director of the

  Miami-Dade County Police Department is not a final policy-maker for the county. The final

  policy making authority for Miami-Dade County rests solely with the Board of County

  Commissioners or the County Manager); Williams v. Miami-Dade County, 859 F.Supp.2d 1297,

  No. 10–21045–CIV (S.D. Fla. January 9, 2012)(MDPD’s use of force policy issued by the

  Director did not create a de facto county policy).

         Therefore, even assuming arguendo that “Exhibit 1” is the MDPD’s internal taser policy,

  the case law that the County fought so long and hard to establish “hoists the County on its own

  petard.” Therefore, this Court should stricken the section of the County’s Reply which cites to

  “Exhibit 1” as being the procedure that was in place in 2013.

                                     III.    Conclusion

         For all the reasons stated above, the County’s argument alleging that Mr. Harewood

  referenced an outdated policy should be stricken.




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                        CERTIFICATE OF GOOD FAITH CONFERENCE

           I hereby certify that on or about July 20, 2016, undersigned counsel conferred with

  opposing counsel in a good-faith effort to resolve the issues stated herein and have be unable to

  do so.

           DATED: August 11, 2016.

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                                                    Counsel for the Plaintiff, Cuthbert Harewood


                                                    By: /s/ Hilton Napoleon, II
                                                            Hilton Napoleon, II



                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on August 11, 2016, I have filed the foregoing document with
  the Clerk of the Court using the CM/ECF system. I also certify that the foregoing document is
  being served this day on all counsel and parties of record on the attached Service List in the
  manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
  or in some other authorized manner for those parties who are not authorized to receive
  electronically Notices of Electronic Filing.

                                                 By: /s/ Hilton Napoleon, II
                                                         Hilton Napoleon, II




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